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                            UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

BRYNHILL INVESTMENTS, LLC, and                   §
STONEHILL INVESTMENTS, LLC,                      §
                                                 §
        Plaintiffs,                              §
                                                 §
v.                                               §    CASE NO.:      ________________________
                                                 §
NTENT, INC., PATRICK CONDO, and                  §
MATTHEW G. JONES,                                §
                                                 §
        Defendants.                              §

                                      INDEX OF EXHIBITS

 EXHIBIT         DESCRIPTION                                                   DATE FILED

       A         Index of Exhibits                                             12/01/21

       B         State Court Docket Sheet                                      12/01/21

      C-1        Plaintiff’s Original Petition                                 09/28/21

      C-2        Letter from Plaintiff’s Counsel Regarding Request for         10/01/21
                 Citations

      C-3        Citation for NTENT, Inc.                                      10/08/21

      C-4        Citation for Patrick Condo                                    10/08/21

      C-5        Citation for Matthew G. Jones                                 10/08/21

      C-6        Texas Secretary of State Certificate of Service for NTENT,    11/09/21
                 Inc.

      C-7        Texas Secretary of State Certificate of Service for Patrick   11/09/21
                 Condo

      C-8        Texas Secretary of State Certificate of Service for Matthew   11/09/21
                 G. Jones

      C-9        101st Judicial District Dismissal for Want of Prosecution     11/30/21
                 Letter to Patrick Condo




                                                                          EXHIBIT A
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EXHIBIT   DESCRIPTION                                                 DATE FILED

  C-10    101st Judicial District Dismissal for Want of Prosecution   11/30/21
          Letter to Matthew G. Jones

  C-11    101st Judicial District Dismissal for Want of Prosecution   11/30/21
          Letter to NTENT, Inc.

  C-12    101st Judicial District Dismissal for Want of Prosecution   11/30/21
          Letter to Plaintiff’s Counsel

   D      NTENT, Inc.’s Certificate of Interested Persons             12/01/21




                                                                  EXHIBIT A
